          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:94cr126-04


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                       ORDER
                          )
                          )
RICHARD DALTON CRAWFORD.)
                          )




      THIS MATTER is before the Court on the Notice of Ineligibility

regarding Crack Cocaine Offense [Doc. 406], filed January 27, 2009.

      It appears that this Defendant may have been identified as a person

who may be eligible for some relief pursuant to Amendment 706 to the

Sentencing Guidelines. Even though no motion was filed either pro se or

by counsel, the matter was referred to Defendant’s counsel for review,

culminating in the filing of the Notice of Ineligibility. Counsel for the

Defendant advises that the Defendant completed his original sentence of

imprisonment but was sentenced to a new term of imprisonment in

December 2007 for violating the terms of his supervised release. The

record of the case reveals this is accurate. [Doc. 221; Doc. 274; Doc. 326;



   Case 3:94-cr-00126-MOC-SCR         Document 407      Filed 02/03/09      Page 1 of 2
Doc. 337]. However, counsel also advises that in December 2008, the

Defendant was released from prison in connection with the sentence for a

supervised release violation. As a result, counsel has not filed a motion.

     Counsel is correct that only those persons currently serving a

sentence which was determined by a sentencing range calculated with the

impacted drug quantity table are potentially eligible for consideration. See,

United States v. Dawson, 2008 WL 2874129 (E.D.Ark. 2008). Thus, an

individual who has been sentenced for a supervised release violation may

not receive the benefit of the amendment. United States v. Rivera, 2008

WL 2915060 (M.D.Fla. 2008).

     IT IS, THEREFORE, ORDERED that for the reasons stated herein,

the Defendant is not eligible for any relief pursuant to the Crack Cocaine

Amendment to the United States Sentencing Guidelines, Amendment 706.

                                     Signed: February 2, 2009




  Case 3:94-cr-00126-MOC-SCR     Document 407          Filed 02/03/09   Page 2 of 2
